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     Federal Defender
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5
     Attorneys for Defendant-Appellant
6    RAFAEL CARDENAS
7
                               IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                           Case No. 1:17-cr-00205-DAD-BAM
11
                        Plaintiff,                       STIPULATION TO MODIFY BRIEFING
12                                                       SCHEDULE AND HEARING DATE;
                                                         [PROPOSED] ORDER
13
        vs.                                              DATE: June 25, 2018
14                                                       TIME: 1:00 p.m.
     RAFAEL CARDENAS,                                    JUDGE: Barbara A. McAuliffe
15
                        Defendant.
16
17            IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel that the schedule for filing and hearing of defendant’s discovery motion may
19   be modified as follows:
20                   1. Defense to file: May 21, 2018.
21                   2. Government’s response: June 14, 2018.
22                   3. Optional reply: June 19, 2018.
23                   4. Hearing on motion: June 25, 2018.
24            This stipulation was proposed by defense counsel because he needed additional time.
25            The parties agree that time may be excluded. Exclusion of time may be ordered pursuant
26   to 18 U.S.C. §3161(h)(D) and pursuant to 18 U.S.C. §3161(h)(7)(A) because this schedule is
27   extended on the basis that the defense needs additional time to prepare its motion. The court
28
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1    finds that the ends of justice served by extending the period for filing motions outweigh the best
2    interest of the public and the defendant in a speedy trial.
3
                                                                      Respectfully submitted,
4
                                                                      MCGREGOR W. SCOTT
5                                                                     United States Attorney
6
     Dated: May 14, 2018                                    By:       /s/ Ross Pearson
7                                                                     ROSS PEARSON
                                                                      Assistant United States Attorney
8                                                                      Attorney for Plaintiff
9
                                                                     HEATHER E. WILLIAMS
10                                                                   Federal Defender
11
     Dated: May 14, 2018                                    By:       /s/ Victor M. Chavez
12                                                                    VICTOR M. CHAVEZ
                                                                      Assistant Federal Defender
13                                                                    Attorney for Defendant
                                                                      RAFAEL CARDENAS
14
15
                                                   ORDER
16
17
     IT IS SO ORDERED.
18
19      Dated:     May 15, 2018                                    /s/ Barbara A. McAuliffe              _
                                                         UNITED STATES MAGISTRATE JUDGE
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